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                  UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                               WACO DIVISION
                               WACO


PARKERVISION, INC.                        §
                                          §
vs.                                       §      NO:   WA:20-CV-00108-ADA
                                          §
INTEL CORPORATION                         §

                 ORDER SETTING DISCOVERY
                               DISCOVERY HEARING

      IT IS HEREBY ORDERED that the above entitled and numbered case is set
                                                                        set for

DISCOVERY HEARING by Zoom
                     Zoom on February 10, 2022 at 02:00 PM.



            IT                      4th day of February, 2022.




                                              Alan D Albright
                                              UNITED STATES DISTRICT JUDGE
